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 B 7 (Official Form 7) (12/07)

                          UNITED STATES BANKRUPTCY COURT
                                                   District
                                            __________      of Puerto
                                                       DISTRICT     OFRico
                                                                       __________

         HOTEL
 In re:_____      AIRPORT INC.
             ___________________________________,                                    11-06620
                                                                           Case No. ___________________________________
                           Debtor                                                               (if known)




                                      STATEMENT OF FINANCIAL AFFAIRS

            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
 the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
 information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
 filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
 should provide the information requested on this statement concerning all such activities as well as the individual's personal
 affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
 child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
 §112 and Fed. R. Bankr. P. 1007(m).

           Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
 must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
 additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
 case number (if known), and the number of the question.


                                                              DEFINITIONS

            "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
 individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
 the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
 of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
 self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
 engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
 employment.

            "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
 their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
 5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
 of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

 ______________________________________________________________________________________________________
         1. Income from employment or operation of business

 None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
             the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
             beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
             two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
             the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
             of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                         AMOUNT                                                      SOURCE

                                               Hotel operations:

                                               $2,247,860 Jan - Jul 2011
                                               $3,540,878 2010
                                               $5,249,637 2009
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         2.   Income other than from employment or operation of business

 None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the
        debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
        joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
        must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                  AMOUNT                                                                    SOURCE

                                           $ 90,677 rent & other income in 2011 Jan - Jul
                                            $512,064, and $213,959 in 2010 & 2009, respectively.
 _____________________________________________________________________________________________________
         3. Payments to creditors

        Complete a. or b., as appropriate, and c.
 None

 G      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
        this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
        Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
        as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
        agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              NAME AND ADDRESS OF CREDITOR                  DATES OF             AMOUNT               AMOUNT
                                                            PAYMENTS             PAID                 STILL OWING




 None

 G      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
        constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
        any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                              DATES OF                  AMOUNT               AMOUNT
                                                                  PAYMENTS/                 PAID OR              STILL
                                                                  TRANSFERS                 VALUE OF             OWING
   SEE ATTACHED                                                                             TRANSFERS
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                                                                                                                                    3
 None

 G      c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
        include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
        a joint petition is not filed.)

              NAME AND ADDRESS OF CREDITOR                 DATE OF             AMOUNT               AMOUNT
              AND RELATIONSHIP TO DEBTOR                   PAYMENT             PAID                 STILL OWING


   SEE ATTACHED



 ______________________________________________________________________________________________________


         4. Suits and administrative proceedings, executions, garnishments and attachments

 None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)

              CAPTION OF SUIT                                                  COURT OR AGENCY                STATUS OR
              AND CASE NUMBER              NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION

   PR PORTS AUTH v HOTEL                   EVICTION                              SJ                            STAYED
   AIRPORT INC ET AL                                                             KPE2009-4313


 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
 ✔      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

              NAME AND ADDRESS                                                                      DESCRIPTION
              OF PERSON FOR WHOSE                          DATE OF                                  AND VALUE
              BENEFIT PROPERTY WAS SEIZED                  SEIZURE                                  OF PROPERTY



 _____________________________________________________________________________________________________

         5.   Repossessions, foreclosures and returns

 None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
 ✔      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                      DATE OF REPOSSESSION,                         DESCRIPTION
              NAME AND ADDRESS                        FORECLOSURE SALE,                             AND VALUE
              OF CREDITOR OR SELLER                   TRANSFER OR RETURN                            OF PROPERTY



 ______________________________________________________________________________________________________
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         6.   Assignments and receiverships

 None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
 ✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
         either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
         filed.)

                                                                                                       TERMS OF
              NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
              OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




 None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
 ✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
         include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)

                                             NAME AND LOCATION                                                   DESCRIPTION
              NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
              OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



 ______________________________________________________________________________________________________


         7.   Gifts

 None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
         except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
         and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
         chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
         OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
         OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT

  FONDOS UNIDOS                                NONE                                                         3000
                                                                                08/01/2011
 _____________________________________________________________________________________________________

         8.   Losses

 None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
 ✔       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
         include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
         joint petition is not filed.)

         DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
         AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
         PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




 ______________________________________________________________________________________________________
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         9.   Payments related to debt counseling or bankruptcy

 None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
         consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
         within one year immediately preceding the commencement of this case.

                                                      DATE OF PAYMENT,                    AMOUNT OF MONEY OR
         NAME AND ADDRESS                             NAME OF PAYER IF                    DESCRIPTION AND
         OF PAYEE                                     OTHER THAN DEBTOR                   VALUE OF PROPERTY


  EDGARDO MUÑOZ PSC                                   8/4/2011                              10,000


 ______________________________________________________________________________________________________
         10. Other transfers
 None
         a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
        the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
        RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                 DATE           VALUE RECEIVED
   EMPRESAS SANTANA                                                               slots machines & tables, sold upon
                                                           07/19/2010             closing of Casino for $990,000
 None
 ✔
 G       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
         to a self-settled trust or similar device of which the debtor is a beneficiary.

         NAME OF TRUST OR OTHER                       DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
         DEVICE                                       TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                INTEREST IN PROPERTY


 ______________________________________________________________________________________________________

         11. Closed financial accounts

 None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
  ✔     closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
        checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
        held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
        instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)

                                            TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
         NAME AND ADDRESS                   DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
         OF INSTITUTION                     AND AMOUNT OF FINAL BALANCE                              OR CLOSING




 ______________________________________________________________________________________________________
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         12. Safe deposit boxes

 None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
 ✔       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
         chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
         OF BANK OR                         OF THOSE WITH ACCESS                OF                   OR SURRENDER,
         OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY



 ______________________________________________________________________________________________________

         13. Setoffs

 None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
 ✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)

                                                                      DATE OF                   AMOUNT
         NAME AND ADDRESS OF CREDITOR                                 SETOFF                    OF SETOFF



 _____________________________________________________________________________________________________

             14. Property held for another person

 None    List all property owned by another person that the debtor holds or controls.
 ✔

         NAME AND ADDRESS                         DESCRIPTION AND
         OF OWNER                                 VALUE OF PROPERTY                                  LOCATION OF PROPERTY




 _____________________________________________________________________________________________________

         15. Prior address of debtor

 None
 G
 ✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
         which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
         filed, report also any separate address of either spouse.

         ADDRESS                                  NAME USED                             DATES OF OCCUPANCY




 _____________________________________________________________________________
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         16. Spouses and Former Spouses

 None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
 ✔      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
        years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
        any former spouse who resides or resided with the debtor in the community property state.

        NAME


 ______________________________________________________________________________________________________
         17. Environmental Information.

        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
        releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
        other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
        or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
        formerly owned or operated by the debtor, including, but not limited to, disposal sites.

         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
         material, pollutant, or contaminant or similar term under an Environmental Law.


 None    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
 ✔       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
         governmental unit, the date of the notice, and, if known, the Environmental Law:

             SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




 None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
 ✔       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

             SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




 None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
 ✔       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.

             NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
             OF GOVERNMENTAL UNIT                                                          DISPOSITION


 ______________________________________________________________________________________________________

         18 . Nature, location and name of business

 None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
 ✔       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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           executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
           other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
           which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
           the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities, within six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities within six years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS
                                OF SOCIAL-SECURITY                                                                  BEGINNING AND
                NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                                TAXPAYER-I.D. NO.
                                (ITIN)/ COMPLETE EIN




 None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
 ✔         defined in 11 U.S.C. § 101.

                NAME                                      ADDRESS



 ______________________________________________________________________________________________________

            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
 debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
 officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
 partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
 either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
 business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
 in business within those six years should go directly to the signature page.)

 _____________________________________________________________________________________________________


           19. Books, records and financial statements

 None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
           bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

                NAME AND ADDRESS                                                               DATES SERVICES RENDERED

  CPA F GARRIDO                                                                              since 2009
  RS & ASSOC

 None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
           case have audited the books of account and records, or prepared a financial statement of the debtor.

                NAME                                      ADDRESS                              DATES SERVICES RENDERED

  RS & ASSOC                                         SJ                                         2009 on
  KEVANE SOTO PASARELL                               SJ                                         UNTIL mid 2009
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 None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
        books of account and records of the debtor. If any of the books of account and records are not available, explain.

             NAME                                                                         ADDRESS
              AT DEBTOR'S OFFICES


 None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                   NAME AND ADDRESS                                                             DATE ISSUED

                    FIRSTBANK
                                               2009, 2010                                       12/31/2009
 ________________________________________________________________________________________________

         20. Inventories

 None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                               DOLLAR AMOUNT
                                                                                               OF INVENTORY
                   DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                               basis)
                                                   SEE ATTACHED


 None    b. List the name and address of the person having possession of the records of each of the inventories reported
         in a., above.

                                                                                               NAME AND ADDRESSES
                                                                                               OF CUSTODIAN
                   DATE OF INVENTORY                                                           OF INVENTORY RECORDS
                                                   DEBTOR

 ____________________________________________________________________________________________________

         21 . Current Partners, Officers, Directors and Shareholders

 None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
             partnership.

             NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




 None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
             directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
             corporation.
                                                                                        NATURE AND PERCENTAGE
                  NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP

            CARIBBEAN AIRPORT FACILITIES                                                 100% STOCKHOLDER
            David Tirri, Anthony Tirri, Jean Tirri                Pres, vicepres         & secretary

 __________________________________________________________________________________________________
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        22 . Former partners, officers, directors and shareholders

 None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
 ✔      preceding the commencement of this case.

             NAME                                          ADDRESS                    DATE OF WITHDRAWAL




 None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
 ✔      within one year immediately preceding the commencement of this case.

                   NAME AND ADDRESS                              TITLE                         DATE OF TERMINATION



 ___________________________________________________________________________________________________

         23 . Withdrawals from a partnership or distributions by a corporation

 None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
        including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                   NAME & ADDRESS                                                         AMOUNT OF MONEY
                   OF RECIPIENT,                           DATE AND PURPOSE               OR DESCRIPTION
                   RELATIONSHIP TO DEBTOR                  OF WITHDRAWAL                  AND VALUE OF PROPERTY

            see attached



 ___________________________________________________________________

         24. Tax Consolidation Group.

 None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
 ✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
         immediately preceding the commencement of the case.

             NAME OF PARENT CORPORATION                    TAXPAYER-IDENTIFICATION NUMBER (EIN)



 _____________________________________________________________________________________________________

         25. Pension Funds.

 None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
 ✔      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
        preceding the commencement of the case.

             NAME OF PENSION FUND                     TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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